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                                              ORDERED.
    Dated: December 19, 2024




                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION
                                       www.flmb.uscourts.gov

In re:                                                                        Case No. 2:24-bk-01152-FMD
                                                                              Chapter 13
Yadira Rodriguez

     Debtor.1
                                          /

                                      ORDER CONFIRMING PLAN

         THIS CASE came on for a hearing on December 12, 2024 (the “Confirmation Hearing”),

of Debtor’s Chapter 13 Plan (Doc. No. 25) (the “Plan”). References to the Plan include Debtor’s

most recently filed amended Plan, if any, and any amendments approved by prior order or made

in open court during the Confirmation Hearing, all of which are incorporated in this Order. The

Court finds that the Plan was served on all interested parties and complies with the provisions of

Chapter 13 of the Bankruptcy Code2 and other applicable provisions of the Code.

         Accordingly, it is

         ORDERED:




1
 All references to “Debtor” include and refer to both of the Debtors in a case filed jointly by two individuals.
2
 All statutory references are to the Bankruptcy Code, Title 11 of the United States Code, unless otherwise noted.
References to rules are to the Federal Rules of Bankruptcy Procedure.
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       1.      Confirmation. The Plan is confirmed as stated herein. If there is a discrepancy

between the provisions of the Plan and this Order, the provisions of this Order supersede the Plan.

By entry of this Order, any objections to confirmation of the Plan are deemed withdrawn and/or

overruled by entry of this Order.

       2.      Personal Financial Management Course. Debtor must complete a required

personal financial management course and file a certificate that such course has been completed

within 90 days of the entry of this Order.

       3.      Plan Payments. Debtor must make monthly payments (“Plan Payments”) to the

Trustee as stated in the attached Exhibit “A” for 36 consecutive months commencing on

September 2, 2024. Debtor must make Plan Payments by (a) Trustee-approved electronic transfer,

or (b) money order, cashier’s check, or employee wage deduction mailed to the Chapter 13

Standing Trustee, Jon M. Waage, P.O. Box 260, Memphis, TN 38101-0260. Each Plan Payment

must reference Debtor’s legibly printed name and the Chapter 13 case number, and must not

identify Debtor’s social security number.

       4.      Trustee’s Statutory Percentage Fee. The Trustee will collect from each Plan

Payment the Trustee’s statutory percentage fee authorized by 28 U.S.C. § 586 (the “Trustee’s

Statutory Percentage Fee”). If the Trustee’s actual Statutory Percentage Fee is less than provided

for in the Plan, the Trustee may allocate any unused portion of the Statutory Percentage Fee to

fund the Plan if necessary for Debtor to obtain a discharge, or to increase the distribution to

unsecured creditors.

       5.      Income Tax Returns. While the Chapter 13 case is pending, Debtor must timely

file all tax returns and make all tax payments and deposits when due; if Debtor is not required to

file tax returns, Debtor must provide Trustee with a statement to that effect. For each tax return



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that becomes due after the case is filed, Debtor must, within 14 days of filing the return, provide

the Trustee with a complete copy of the tax return, including business returns if Debtor owns a

business, together with all related W-2s and Form 1099s. Debtor must not instruct the Internal

Revenue Service or other taxing agency to apply a refund to the following year’s tax liability.

       6.      Income Tax Refunds. Beginning with tax year 2024, unless otherwise consented

to by the Trustee or ordered by the Court, in addition to Plan Payments, Debtor must turn over

all tax refunds to the Trustee for distribution to allowed general unsecured creditors. Upon receipt

of any tax refund, Debtor must immediately forward the amount of the refund to the Trustee and

must include Debtor's bankruptcy case number. Debtor must not spend any tax refund without

first having obtained the Trustee’s consent or court approval.

       7.      Postpetition Domestic Support Obligations. Debtor is responsible for paying any

domestic support obligation that first becomes payable after the petition date.

       8.      Postpetition Homeowners’ or Condominium Association Assessments or Dues

and Property Taxes. Unless otherwise provided for in this Order or any other order of this Court,

Debtor is responsible for paying all postpetition ongoing homeowners’ or condominium

association assessments or dues, and/or property taxes that are related to real property being

retained by Debtor under the Plan, and the automatic stay shall not apply to these postpetition

expenses.

       9.      Debtor’s Continuing Duty to Disclose Changes in Financial Circumstances and

Assets. Debtor has the continuing duty to disclose any changes in financial circumstances and new

assets or potential rights to assets that Debtor acquires postpetition by promptly filing amended

schedules A, B, I and J, as applicable. Debtor’s failure to disclose changes in financial

circumstances or assets by filing amended schedules may result in dismissal of the case and/or



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denial of Debtor’s discharge. If Debtor fails to file amended schedules I and/or J in support of a

motion to modify or Debtor’s opposition to a motion to modify due to a change in financial

circumstances, the Court may deny Debtor’s requested relief without a hearing. Changes in

financial circumstances may include but are not limited to:

       (a)       annual increases of $10,000 or more in gross income from any source from the last

filed Schedules of the Debtor;

       (b)       the right to receive and/or the receipt of an inheritance or life insurance proceeds;

       (c)       receipt of any asset, winnings, or prize(s) of $5,000 or more in value during any

calendar year;

       (d)       any claims or potential claims against third parties that accrue and that have not

been previously disclosed on the schedules; and/or

       (e)       any changes in expenses or household size that substantially impact Debtor’s

disposable monthly income.

       10.       Prohibition on Post-Confirmation Debt. Debtor must not incur any post-

confirmation debt outside the ordinary course during the term of the Plan without prior approval

of the Court or the Trustee.

       11.       Distributions Under the Plan. The Trustee shall disburse payments to the holders

of allowed claims as stated on the attached Exhibit “A” or any subsequent Court order. The

Trustee may distribute partial Plan Payments to creditors in their order of priority based upon the

availability of funds. If Debtor’s Plan Payments are timely paid, payments to secured creditors

that are included in Plan Payments shall be deemed contractually paid on time. If the Trustee has

insufficient monies to make distributions to Creditors as stated in this Order, or any other Court

order, the Trustee may adjust the amount of the Plan Payments during the life of the Plan without


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further order of this Court under § 1329. Inasmuch as no creditor will be adversely affected by

the modification, notice and hearing are not required.

       12.     Claims. All claims, including Debtor’s attorney’s fees, are allowed or disallowed

as stated in Exhibit “A” attached hereto. Within 21 days of the date of this Order, any party in

interest may request the Court to examine fees to be paid to Debtor’s attorney.

       13.     Objections to Claims. If the deadline to file proofs of claim has not yet expired,

Debtor shall have 28 days following the expiration of the deadline to object to any filed claim

that has not already been provided for in this Order.

       14.     Disallowance of Amended and Untimely Filed Claims. Except for (a) a claim

filed by Debtor or the Trustee under Rule 3004; (b) a claim provided for in Exhibit “A” of this

Order or subsequent modification of Exhibit “A;” or (c) an amended claim filed in a lesser amount

than the timely filed original claim, any claim or amended claim filed after the claims bar date

will be disallowed and will receive no distribution unless the Court enters an order granting the

claimant’s motion to allow the claim as timely filed.

       15.     Claims Timely Filed After Entry of this Order. If this Order is entered before the

expiration of the Claims Bar Date and does not provide for a timely filed claim, Debtor must

promptly file an appropriate motion to modify the confirmed Plan, and if applicable, any

objection to the claim or motion to determine secured status. The Trustee shall review the claims

register after all deadlines for filing proofs of claim have expired and may file a motion to dismiss

if Debtor fails to promptly take appropriate action to address all timely filed claims.




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       16.     Mortgage Payment Changes. The procedure for treatment of mortgage payment

changes and escrow account adjustments during the life of the Plan shall be governed by Rule

3002.1(b). If the holder of a claim secured by Debtor’s principal residence files and serves a Notice

of Payment Change, the Trustee shall take the following action:

       (a)     If the new payment is less than the current payment, the Trustee may reduce the

monthly distribution to the creditor in accordance with the Notice of Payment Change and apply

the difference to increase the distribution to unsecured creditors; or

       (b)     If the new payment is greater than the current payment, the Trustee shall (i)

compute the necessary increase to Debtor’s Plan Payment and notify Debtor and Debtor’s

attorney of the new Plan Payment; and (ii) increase the monthly distribution to the creditor.

       The foregoing provisions are, in effect, a modification to the Plan, which is deemed

requested by the Trustee under § 1329. Inasmuch as no creditor will be adversely affected by the

modification, notice and hearing are not required.

       17.     Arrearages. The Plan provides for the cure of any prepetition and postpetition

arrearages. After the completion of all payments under the Plan and the entry Debtor’s discharge

under § 1328, the delinquencies on mortgages and security interests related to such claims will

be deemed cured and their contractual dates of maturity reinstated. Any postpetition costs or

expenses incurred by or on behalf of any secured creditor will be discharged upon the completion

of the Plan, unless (a) specifically provided for in this Order or (b) allowed pursuant to a notice

provided under Rule 3002.1(c) before the completion of Plan Payments.

       18.     Retention of Secured Creditors’ Liens. The holders of allowed secured claims

provided for in the Plan shall retain the lien securing such claim until the earlier of (a) the payment

of the underlying debt determined under non-bankruptcy law, or (2) entry of Debtor’s discharge




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under § 1328. If the case is dismissed or converted without completion of the Plan, such lien shall

also be retained by the holder to the extent recognized by applicable non-bankruptcy law.

        19.      Distributions to Unsecured Creditors. The Trustee shall hold all funds payable to

general unsecured creditors for at least 30 days after the deadline for filing proofs of claim has

expired, and the Trustee may continue to hold all such funds until all objections to claims have

been resolved.

        20.      Distributions on Amended Claims in Lesser Amount than the Original Claim,

Satisfaction of Claims, and Withdrawn Claims. If a creditor files an amended claim in a lesser

amount than the original claim, files a satisfaction of its proof of claim, or withdraws its proof of

claim, the Trustee, at the Trustee’s discretion, may (a) reduce the creditor’s distribution to be

consistent with the lesser amount of an amended claim; (b) elect to seek recovery of funds already

disbursed or take no action at all regarding funds already disbursed to that creditor; or (c)

discontinue any further disbursements if a claim is amended, satisfied, or withdrawn to reflect that

the claim has been paid in full. Any disbursements made under this Order on account of a claim

that is subsequently amended are deemed authorized disbursements, and the Trustee shall have no

liability therefor.

        21.      Termination of the Automatic Stay. The automatic stay was terminated in rem as

to Debtor and in rem and in personam as to any codebtor as to any secured creditor or lessor for

which the Plan provided (a) for the surrender of collateral or leased property to the secured creditor

or lessor; (b) for Debtor to make payments directly to the secured creditor or lessor;(c) that Debtor

does not intend to make payments while preserving state law contract rights and defenses; or

(d) for which no provision was made in the Plan. The automatic stay is terminated in rem as to

Debtor and in rem and in personam as to any codebtor as to any secured creditor or lessor not




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provided for in this Order.

       22.     Refund of Undisbursed Plan Payments if Case is Dismissed or Converted. If the

case is dismissed or converted to a case under Chapter 7, Chapter 11, or Chapter 12, subject to

the provisions of Paragraph 23 and as soon as practicable, the Trustee shall refund to Debtor any

undisbursed funds in the Trustee’s possession after subtracting (a) any Trustee’s Statutory

Percentage Fee not previously disbursed under paragraph 4 of this Order, and (b) any allowed

unpaid administrative expense claims, including Debtor’s attorney’s claim for fees, from the

amount refunded to Debtor. The Trustee may remit payment to the holders of allowed

administrative expense claims directly to the holders.

       23. Administrative Expense Claims if Case is Dismissed or Converted. If the case is

dismissed or converted to a case under another chapter, holders of unpaid administrative expense

claims, including Debtor’s attorney, that seek payment in the Chapter 13 case must file their

applications no later than 14 days after entry of the order dismissing or converting the case.

Applications may be filed using the negative notice provisions of Local Rule 2004-2. No

application is necessary for fees previously awarded in this Order.

       24.     Debtor’s Declaration Regarding Domestic Support Obligations and § 522(q).

Upon completion of all payments under the Plan, Debtor must promptly file an affidavit or

declaration under penalty of perjury that (a) either lists all domestic support obligations and

whether such obligations are current or states that Debtor is not required to pay a domestic support

obligation; and (b) states that § 522(q)(l) is not applicable and there is no proceeding pending in

which Debtor could be found guilty of an offense listed in § 522(q)(l) or liable for a debt of the

kind listed in § 522(q)(1)(B).




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       25.     Entry of Discharge. The entry of a discharge shall be withheld until Debtor

complies with Paragraphs 2 and 24.

       26.     Student Loans. Any discharge entered in this case shall not discharge Debtor’s

liability on a federally guaranteed student loan unless the Court specifically finds in a separate

adversary proceeding under § 523(a)(8) that repayment of the debt would cause an undue

hardship to Debtor or Debtor’s dependents.

       27.     Section 521(i)(1). This case is not subject to § 521(i)(1).

       28.     Reconsideration. If this Order contains any modified term or condition not timely

noticed to interested parties, any party may seek reconsideration of this Order within 14 days of

its entry by separate motion.




Trustee, Jon M. Waage, is directed to serve a copy of this Order on interested parties who do not
receive service by CM/ECF and to file a proof of service within three days of entry of this Order.



JMW/MEC/ss




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   Yadira Rodriguez
   Case No. 2:24-bk-01152-FMD

                                            EXHIBIT A

TOTAL MONTHLY AMOUNT TO BE PAID TO THE CHAPTER 13 TRUSTEE:


   Starting        09/02/24       $192.00      for 4 Months
                   01/02/25       $243.00      for 32 Months


Total Plan Length     60      Months


Unless otherwise consented to in writing by the Chapter 13 Trustee or subsequently ordered by the

court, in addition to the plan payments set forth above, the Debtor shall turn over to the Trustee

all tax refunds beginning with the tax year 2024 and each tax year thereafter during the term of

the Plan. Said refunds must immediately (upon receipt of) be turned over to the Chapter 13

Trustee, in a certified check or money order (Debtor should not sign their IRS Refund Check

and send it to the Trustee. All money sent to the Trustee needs to be in the form of a certified

check or money order) made payable to Jon M. Waage, Chapter 13 Trustee, with complete

information as to what tax year the refund represents and sent to our payment address, at PO

Box 260, Memphis TN 38101-0260. Additionally, the Debtor must provide complete copies of

all tax returns to the Trustee’s office no later than April 15th of each year for the preceding

year’s taxes.



The claim of Citizens Bank, N.A. (Claim No. 2-1) and the claim of creditor, Cubaneyes Auto

Sales, are specifically not dealt with nor affected by the Plan as confirmed and shall be paid by

Debtor, directly to said creditor(s), outside the confirmed plan.




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Paragraph 6 of the Debtor’s Amended 2016(b) (Doc. No. 22) is hereby stricken.



CLAIM # ALLOWED CLAIM FOR ATTORNEY FEES:
  N/A   Jose A. Blanco, Esquire                                               $    3,400.00 Total
        ($5,000.00 - $1,600.00 = $3,400.00 through the plan)


           ATTORNEY MONITORING FEE:
   N/A     Jose A. Blanco, Esquire                                            $       50.00 Monthly

           (Paid at $0.00 per month for months (1) thru (4); then $50.00 per month for months (5) through (36)
           Note: Monitoring fee ends when the plan completes)


           MINIMUM DISTRIBUTION ON ALLOWED GENERAL UNSECURED CLAIM(S)
                                                    $ 2,672.00 Total


           The following unsecured claims are allowed:
   1-1     Discover Bank                                                      $   4,441.24
   3-1     Capital One, N.A.                                                  $   2,742.82
   4-1     AIS InfoSource                                                     $     575.47
   5-1     Jefferson Capital Systems LLC                                      $   2,786.77
   6-1     Resurgent Receivables, LLC/Home Depot                              $     414.78
   7-1     Suncoast Credit Union                                              $   5,916.70



           ORDER OF DISTRIBUTION:

           1. Adequate protection over life of plan or until creditor is paid in full and allowed Attorney’s
              Fees and Administrative Expenses
           2. Secured Balance plus interest over the life of the plan or as otherwise specified.
           3. Domestic Support Obligations under $500.00
           4. Small Secured creditors-Under $500.00 in balance.
           5. Domestic Support Obligations over $500.00
           6. Arrearages
           7. Other Priority Creditors and Pro-Rata Distribution to Unsecured Creditors


           OTHER CLAIMS:

           The following claims are hereby allowed, however, the Trustee shall not make any
           distribution upon such claims:

   2-1     Citizens Bank, N.A.




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